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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                             *                 MDL 2592
PRODUCTS LIABILITY LITIGATION                            *
                                                         *                 SECTION L
THIS DOCUMENT RELATES TO:                                *
Boudreaux v. Bayer Corp., et al.                         *                 JUDGE ELDON E. FALLON
Case No. 2:14-cv-02720                                   *
                                                         *                 MAGISTRATE JUDGE NORTH
************************

                       MEMORANDUM IN SUPPORT OF
     PLAINTIFFS’ MOTION TO STRIKE FDA REDLINED DOCUMENTS, OR, IN THE
     ALTERNATIVE, INSTRUCT THE JURY TO DISREGARD THE DOCUMENTS AND
               PRECLUDE ARGUMENT REGARDING FDA ACTIONS

I.         INTRODUCTION

           Plaintiffs, Joseph and Loretta Boudreaux, move to strike FDA Redlined Documents

(DX5548 and DX6009), which were improperly admitted into evidence as their probative value is

far outweighed by the prejudice to Plaintiffs. These mirror-image versions are of a document

containing “track changes” purportedly belonging to the FDA regarding the Xarelto label

submitted with NDA 22406, which addresses Xarelto’s orthopedic indication. Since this litigation

involves the NDA for an atrial fibrillation indication, which was reviewed by a different division

of FDA, the documents are not even directly relevant to these proceedings. More importantly, the

relevance of these documents is far outweighed by their prejudicial value, as the Defendants appear

to have given up their affirmative defense of preemption, of which these documents directly

pertain. Absent any requirement by the jury to resolve the “factually pregnant” issues related to

Plaintiffs’ failure to warn/instruct claims under the Louisiana Products Liability Act,1 these

documents can only serve to needlessly confuse the jury about actions taken by the FDA on a label



1
    See In re Xarelto Prod. Liab. Litig., MDL 2592, Order & Reasons at 8 (E.D. La. Apr. 13, 2017) (Rec. Doc. 6197).
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that is not at issue, based on the RECORD study, about a decision another division of the FDA

only months later came to an opposite conclusion based on the ROCKET study. Given the

extraordinary prejudice to plaintiffs that accompany these documents, they should be stricken from

the record. Alternatively, the jury should be instructed to disregard all evidence related to the

documents and the Defendants should be precluded from referencing the documents in closing

arguments.

        II.    ARGUMENT


       During the testimony of Dr. David Kessler, Defendants presented the former FDA

Commissioner with DX5548, a red-lined document that was purportedly attached to a June 13,

2011 email. Not being the author of the document, Dr. Kessler rightfully disclaimed any ability

to address the provenance of the document, including whose red-lines belonged to whom. See

Trial Transcript at 447:8-13 (April 25, 2017) (“this is like walking into a track-changes document

done by X number of people and trying to figure out who made what comments. . . . So I just don't

want to be the one representing who struck what.”). Defendants repeatedly questioned Dr. Kessler

about FDA “strike throughs,” even though there was no foundation for the assertion. On four

separate occasions the Court either corrected Defense counsel’s misstatement of the record or

sustained Plaintiffs’ objections regarding the improper characterization of the document. Id. at

449:16-23; 450:23-25; 452:3-8; 455:6-11. As to the last, this Court instructed the jury that: “its

really up to you to determine the value of this language. You’re the jury. You’ve heard everything.

It’s up to you to decide the significance of this language.” Despite the controversy surrounding

DX5548 which even required a jury instruction, the Court allowed Exhibit DX5548 to be admitted

as evidence. Id. at 447:19.
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       Recognizing their evidentiary shortfall, when the Plaintiffs called Dr. Gary Peters to testify

remotely under subpoena from Philadelphia, under re-direct, Dr. Peters was questioned about a

different version of the same document, DX6009. During the examination of Dr. Peters by Mr.

Sarver, all the witness spoke to was the provenance of redlines on DX6009. Dr. Peters testified

that the Hematology Division at FDA, which was reviewing the orthopedic NDA, struck language

regarding PT and Riva Plasma concentration being closely correlated.       See April 28, 2017 Trial

Transcript at 1103:24-1104:19:

               Q. All right. Do you see the Section 12.2,
               "Pharmacodynamics"?
                A. Yes, I do.
               Q. And there appears to be a strike-through on some of the
               language.
               Do you see that?
               A. Yes, I do.
               Q. Where did that strike-through come from?
               A. That strike-through came from FDA.
               Q. Let's take a look at the language, then, that the FDA
               struck out of the label that Janssen proposed. Read along with
               me.
               Now, the language the FDA chose to strike out says,
               "The relationship between PT and riva plasma concentration is
               linear and closely correlated. If assessment of the
               pharmacodynamics effect of rivaroxaban is considered necessary,
               in individual cases PT (measured in seconds) is recommended."
               Is that what the FDA chose to strike out of the
               Janssen label?
               A. Yes, they -- they struck out that part and the parts that
               follow.
       While this testimony purportedly addresses the Defendants’ evidentiary shortfall, since the

Defendants take the position that preemption is a matter of law which is not to be decided by the

jury, the relevance of this document pales in comparison to the incredible prejudice it imparts on

the Plaintiffs. If these exhibits remain in evidence and available to the Defendants to utilize at

closing, the jury may be misled into believing that the FDA refused to allow language regarding
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the PT testing, which is at the very heart of Plaintiffs’ claims. Since the jury will not be charged

with Defendants’ affirmative defense regarding impossibility preemption, pursuant to Wyeth v.

Levine, 555 U.S. 555 (2009), they have no reason to review FDA’s criticism of the proposed

orthopedic label’s language and are left to speculate as to why the redline appears.

       Under Fed.R.Civ.P. 403, even relevant evidence can be excluded “if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403. A trial court has broad discretion in assessing the probative value

of evidence and determining if it is significantly outweighed by the risk of undue prejudice. See

Sprint v. Mendelsohn, 552 U.S. 379, 384 (2008); Verzwyvelt v. St. Paul Fire & Marine Ins. Co.,

175 F. Supp. 2d 881, 888 (W.D. La. 2001), citing United States v. Johnson, 558 F.2d 744, 746 (5th

Cir. 1977).

       Relevant evidence should be excluded if its probative value is substantially outweighed by

a danger of unfair prejudice. United States v. Duncan, 919 F.2d 981, 987 (5th Cir. 1990), citing

Fed. R. Evid. 403. “The less probative a piece of evidence is, and thus the less the benefit to the

truth-determining function of the jury of admitting it at trial, and the more trial time the

presentation of the evidence would consume and the likelier the evidence would be to confuse the

jurors by distracting them from more probative evidence, the stronger the argument for exclusion.”

United States v. Seals, 419 F.3d 600, 613 (7th Cir. 2005) (citations omitted).

       In light of the extreme prejudice presented by this evidence, and the absence of any jury

instruction (as of the drafting of this motion), the exhibits should be stricken from the record, and

the jury informed of the ruling.
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       Alternatively, pursuant to Fed.R.Civ.P. 51(a)(2), this Court may after the close of evidence

permit an instruction on “issues that could not reasonably have been anticipated” or “any issue.”

In the event this Court chooses not to strike Exhibits DX5548 and DX6009, Plaintiffs submit that

the jury be instructed to disregard the documents, and that counsel be precluded from addressing

the exhibits during closing arguments.

        III.   CONCLUSION

        For the reasons set forth above, Plaintiffs’ motion should be granted.



Dated: May 3, 2017                                   Respectfully submitted,
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                               CERTIFICATE OF SERVICE


       I hereby certify that on May 3, 2017 a copy of the above and foregoing Plaintiffs’ Motion

for Judgment As A Matter of law at the Close of Defendants’ Case, has contemporaneously with

or before filing been served on all parties or their attorneys in a manner authorized by FRCP

5(b)(2), Local Rule 5.1 of the Eastern District of Louisiana and via MDL Centrality, which will

send notice of electronic filing in accordance with the procedures established in MDL 2592

pursuant to Pre-Trial Order No. 17.




                                             /s/ Leonard A. Davis
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